                                                                                                                                         Page 1 of 2
              Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                              Page 1 of 62 PageID 14




                   DC-15-12384 - JUAN PORRAS vs. ALLSTATE TEXAS LLOYDS et al

        Case Number: DC-15-12384                              Court: 162nd District Court
        File Date: 10/08/2015                                 Case Type: INSURANCE
        Case Status: OPEN



        PLAINTIFF : PORRAS, JUAN                                 Active Attorneys
        Address:                                                     Lead Attorney:
         c/o 100 Waugh Drive, Suite 350
          Houston TX 77007                                             WORRALL, MATTHEW
                                                                      Retained
                                                                      Work Phone: 713-963-8881
                                                                      Fax Phone: 713-574-2938




        DEFENDANT : ALLSTATE TEXAS LLOYDS                        Active Attorneys
        Address:                                                     Lead Attorney:
          BY SERVING ITS REGISTERED AGENT CT
          CORPORATION SYSTEM                                           HIGGINS, ROGER D
          1999 BRYAN STREET, SUITE 900                               Retained
          DALLAS TX 75201-3136                                       Work Phone: 214-871-8200
                                                                   I Fax Phone: 214-871-8209




        DEFENDANT : BACKER, DAVID FRANK
        Address:
         6717 PARKSIDE COURT
         ARLINGTON TX 76016




        DEFENDANT: ALLSTATE VEHICLE                              Active Attorneys
        Address:                                                     Lead Attorney:
          BY SERVING ITS REGISTERED AGENT CT
          CORPORATION SYSTEM                                           REYNA, JOHN B
          1999 BRYAN STREET SUITE 900                                 Retained
          DALLAS TX 75201-3136                                        Work Phone: 214-871-8218
                                                                      Fax Phone: 214-871-8209




        10/08/2015 NEW CASE FILED (OCA) - CIVIL
        10/08/2015 ORIGINAL PETITION
             15.10.07 Original Petition.pdf
             Civil Case Information Sheet.pdf
        10/08/2015 ISSUE CITATION
             ISSUE CITATION
             ISSUE CITATION
        10/08/2015 JURY DEMAND
         !   JURY DEMAND                                                                               •         CYUIRIT
                                                                                                   1             t   A   n   i   D   M
        10/14/2015 CITATION
             Anticipated Server: CERTIFIED MAIL               Anticipated Method:
             Actual Server: CERTIFIED MAIL                    Returned: 10/21/2015                         | |
             Comment: CMR #9214-8901-0661-5400-0070-2504-17




https://courtsportal.dallascounty.Org/DALLASPROD/Home/WorkspaceMode?p=0                                                                   4/4/2016
                                                                                                                         Page 2 of 2
               Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                               Page 2 of 62 PageID 15


                                       IED MAIL                       Anticipated Method:
          |   Actual Server: CERTIFIED MAIL                           Returned: 12/08/2015
          I   Comment: CMR #9214-8901-0661-5400-0070-2512-78
         11/09/2015 ORIGINAL ANSWER - GENERAL DENIAL
              Answer.pdf
         12/07/2015 RULE 11
              Porras, Juan v Allstate - Rule 11.pdf
         12/14/2015 SCHEDULING ORDER
          I   SCHEDULING ORDER
         12/30/2015 RULE 11
              Rule 11 to extend discovery deadline.pdf
          I   Comment: EXTEND DISCOVERY
        03/01/2016 AMENDED PETITION
              2016.03.01 First Amended Petition - Porras.pdf
              Comment: FIRST
        03/01/2016 ISSUE CITATION
          I   ISSUE CITATION
        03/07/2016 CITATION
              Anticipated Server: CERTIFIED MAIL                      Anticipated Method:
              Actual Server: CERTIFIED MAIL                           Returned: 03/14/2016
              Comment: FIRST AMENDED/ CERT MAIL/DC
        03/30/2016 ORIGINAL ANSWER - GENERAL DENIAL
              Allstate Vehicle & Property's Original Answer.pdf
        10/17/2016 Jury Trial-Civil
              Judicial Officer: BROWN, PHYLLIS LISTER
              Hearing Time: 9:00 AM

        PORRAS, JUAN
          Total Financial Assessment                                                                           $666.00
          Total Payments and Credits                                                                           $666.00


          10/9/2015        Transaction Assessment                                                                 $555.00

          10/9/2015        CREDIT CARD-TEXFILE (DC)               Receipt* 60324-2015-DCLK      Porras, Juan     ($555.00)

         3/4/2016          Transaction Assessment                                                                 $111.00

         3/4/2016          CREDIT CARD-TEXFILE (DC)               Receipt # 13839-2016-DCLK     PORRAS, JUAN     ($111.00)




        15.10.07 Original Petition.pdf
        Civil Case Information Sheet.pdf
        JURY DEMAND
        ISSUE CITATION
        ISSUE CITATION
        ALLSTATE TEXAS LLOYDS - CITATION
        Answer.pdf
        Porras, Juan v Allstate - Rule 11.pdf
        BACKER, DAVID FRANK - CITATION
        SCHEDULING ORDER
        Rule 11 to extend discovery deadline.pdf
        2016.03.01 First Amended Petition - Porras.pdf
        ISSUE CITATION
        ALLSTATE VEHICLE - CITATION
        Allstate Vehicle & Property's Original Answer.pdf




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                                                                                                                     FILED
        Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                   Page 3 of 62 PageID 16 DALLAS COUNTY
                                                                                                       10/8/2015 4:35:15 PM
2 CT-CERT-MAIL                                                                                               FELICIA PITRE
                                                                                                          DISTRICT CLERK

                                                          DC-15-12384                               Freeney Anita
                                              Cause No.

    JUAN PORRAS                                                                IN THE DISTRICT COURT
                                 Plaintiff,
    v.
                                                                              DALLAS COUNTY, TEXAS
    ALLSTATE TEXAS LLOYDS AND DAVID
    FRANK BACKER
                                                                        -162ND
                      Defendant                                                      JUDICIAL DISTRICT


                                 PLAINTIFF'S ORIGINAL PETITION

   TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, Juan Porras, Plaintiff (hereinafter referred to as "Plaintiff), and file this

   Original Petition against Defendants, Allstate Texas Lloyds ("Allstate") and David Frank Backer

   ("Backer") (to whom will be collectively referred to as "Defendants"), and respectfully would

   show this court as follows:

                                                   PARTIES

   1.       Plaintiff, Juan Porras, is an individual residing in and/or owning property in Dallas County,

   Texas.

   2.       Defendant, Allstate, is an insurance company that engaged in the business of insurance in

   the State of Texas at all times material to this action. This defendant may be served by serving its

   Registered Agent for service of process: C T Corporation System, 1999 Bryan Street, Suite 900,

   Dallas, Texas 75201-3136, by certified mail, return receipt requested.

   3.       Defendant, David Frank Backer, is an individual residing in and domiciled in the State of

   Texas. This defendant may be served via certified mail, return receipt requested at 6717 Parkside

   Court, Arlington, Texas 76016.




                                                                                                 EXHIBIT
     Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                  Page 4 of 62 PageID 17




                                      DISCOVERY L E V E L

4.       Plaintiff intends for discovery to be conducted under Level 2 of Rule 190 of the Texas

Rules of Civil Procedure.

                                         JURISDICTION

5.       The Court has jurisdiction over this controversy because the damages are within the

jurisdictional limits of this court. Plaintiff is seeking monetary relief over $200,000 but not more

than $ 1,000,000. Plaintiff reserves the right to amend this petition during and/or after the discovery

process.

6.       The Court has jurisdiction over Defendant, Allstate, because this defendant engaged in the

business of insurance in the State of Texas, and Plaintiffs causes of action arise out of defendant's

business activities in the State of Texas.

7.       The Court has jurisdiction over Defendant, Backer, because this defendant engages in the

business of adjusting insurance claims in the State of Texas, and Plaintiffs causes of action arise

out of defendant's business activities in the State of Texas.

                                              VENUE

8.      Venue is proper in Dallas County, Texas, because the insured property is situated in Dallas

County, Texas. TEX. Crv. PRAC. & REM. CODE § 15.032.

                                              FACTS

9.      Plaintiff is the owner of a property insurance policy ("the Policy") issued by Allstate.

10.     Plaintiff owns the insured property located at 7105 Melton Dr., in Dallas County

(hereinafter referred to as "the Property"). Allstate sold the Policy insuring the Property to

Plaintiff.


                                                  2
  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                    Page 5 of 62 PageID 18




11.    On or about June 17, 2015, a hail storm and/or windstorm struck Dallas County, Texas,

causing severe damage to homes and businesses throughout the region ("the Storm") including the

Property. The Storm damaged the Property including extensive damage to Plaintiffs roof.

12.    Plaintiff subsequently submitted a claim to Allstate for the damage the Property sustained

as a result of the Storm. Plaintiff requested that Allstate cover the cost of repairs, including but

not limited to, replacement of the roof pursuant to the property.

13.    Defendant Allstate assigned Backer as the individual adjuster ("the adjuster") on the claim.

The adjuster was improperly trained and failed to perform a thorough investigation of the claim

spending an inadequate amount of time inspecting Plaintiffs property. The adjuster conducted a

substandard inspection of Plaintiff s Property evidenced by the adjuster's report, which failed to

include all of Plaintiff s storm damages noted upon inspection. The damages the adjuster included

in the report were grossly undervalued and did not allow for adequate funds to cover the cost of

repairs to all the damages sustained.

14.    Allstate and its personnel failed to thoroughly review and properly supervise the work of

their assigned adjusters which ultimately led to the approving an improper adjustment and an

inadequately unfair settlement of Plaintiff s claim. As a result of Defendants' wrongful acts and

omissions set forth above and further described herein, Plaintiff was wrongfully denied on the

claim and has suffered damages.

15.    Together, Defendants set about to deny and/or underpay on properly covered damages.

Defendants failed to provide full coverage for the damages sustained by Plaintiff and under-scoped

Plaintiffs damages, thereby denying adequate and sufficient payment on Plaintiffs claim. As a

result of Defendants' unreasonable investigation, Plaintiffs claim was improperly adjusted, and
  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 6 of 62 PageID 19




Plaintiff was wrongfully denied on the claim and has suffered damages. The mishandling of

Plaintiffs claim has also caused a delay in Plaintiffs ability to fully repair the Property, which has

resulted in additional damages. To this date, Plaintiff has yet to receive the full payment that he

is entitled to under the Policy.

16.     As detailed in the paragraphs below, Allstate wrongfully denied Plaintiff s claim for repairs

of the Property, even though the Policy provided coverage for losses such as those suffered by

Plaintiff.

17.     To date, Allstate continues to delay in the payment for the damages to the Property. As

such, Plaintiff has not been paid in full for the damages to the Property.

18.     Defendant Allstate failed to perform its contractual duties to adequately compensate

Plaintiff under the terms of the Policy. Specifically, it refused to pay the full proceeds of the

Policy, although due demand was made for proceeds to be paid in an amount sufficient to cover

the damaged property, and all conditions precedent to recovery upon the Policy had been carried

out and accomplished by Plaintiff. Allstate's conduct constitutes a breach of the insurance contract

between Allstate and Plaintiff.

19.     Defendants misrepresented to Plaintiff that the damage to the Property was not covered

under the Policy, even though the damage was caused by a covered occurrence. Defendants'

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

INS. CODE    § 541.060(a)(1).

20.     Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner, although

they were aware of their liability to Plaintiff under the Policy. Defendants' conduct constitutes a

violation of the Texas Insurance Code, Unfair Settlement Practices.              TEX. INS. CODE §


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  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 7 of 62 PageID 20




541.0060(a)(2)(A).

21.      Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation, without any

explanation why full payment was not being made. Furthermore, Defendants did not communicate

that any future settlements or payments would be forthcoming to pay for the entire losses covered

under the Policy, nor did they provide any explanation for the failure to adequately settle Plaintiffs

claim.    Defendants' conduct is a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE § 541.060(a)(3).

22.      Defendants failed to affirm or deny coverage of Plaintiff s claim within a reasonable time.

Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding the

full and entire claim, in writing from Defendants. Defendants' conduct constitutes a violation of

the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a)(4).

23.      Defendants refused to fully compensate Plaintiff, under the terms of the Policy, even

though Defendants failed to conduct a reasonable investigation.            Specifically, Defendants

performed an outcome-oriented investigation of Plaintiffs claim, which resulted in a biased,

unfair, and inequitable evaluation of Plaintiffs claim on the Property. Defendants' conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

§ 541.060(a)(7).

24.      Defendant Allstate failed to meets it obligations under the Texas Insurance Code regarding

timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiffs claim, and

requesting all information reasonably necessary to investigate Plaintiffs claim, within the

statutorily mandated time of receiving notice of Plaintiff s claim. Allstate's conduct constitutes a


                                                  5
  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 8 of 62 PageID 21




violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE § 542.055.

25.    Defendant Allstate failed to accept or deny Plaintiffs full and entire claim within the

statutorily mandated time of receiving all necessary information. Allstate's conduct constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE § 542.056.

26.    Defendant Allstate failed to meet its obligations under the Texas Insurance Code regarding

payment of claim without delay. Specifically, it has delayed full payment of Plaintiff s claim

longer than allowed and, to date, Plaintiff has not received full payment for the claim. Allstate's

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX.

INS. CODE   § 542.058.

27.    From and after the time Plaintiffs claim was presented to Defendant Allstate, the liability

of Allstate to pay the full claim in accordance with the terms of the Policy was reasonably clear.

However, Allstate has refused to pay Plaintiff in full, despite there being no basis whatsoever on

which a reasonable insurance company would have relied to deny the full payment. Allstate's

conduct constitutes a breach of the common law duty of good faith and fair dealing.

28.    Defendants knowingly or recklessly made false representations, as described above, as to

material facts and/or knowingly concealed all or part of material information from Plaintiff.

29.    As a result of Defendants' wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the attorney and law firm who are representing them with respect to these

causes of action.

30.    Plaintiffs experience is not an isolated case. The acts and omissions Allstate committed

in this case, or similar acts and omissions, occur with such frequency that they constitute a general

business practice of Allstate with regard to handling these types of claims. Allstate's entire process
  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                        Page 9 of 62 PageID 22




is unfairly designed to reach favorable outcomes for the company at the expense of the

policyholders.

                                         CAUSES OF ACTION

31.         Each of the foregoing paragraphs is incoiporated by reference in the following:

      I.        Causes of Action Against Backer

32.         Allstate assigned Backer to adjust this claim.       Backer was improperly trained and

performed an outcome oriented and unreasonable investigation of Plaintiff s damages. Backer did

not properly assess all damages caused by the Storm and omitted covered damages from the report

including the full extent of damage to the roof. Backer refused to fully compensate Plaintiff for

the full amount Plaintiff is entitled under the Policy. The outcome oriented investigation of

Plaintiffs claim resulted in a biased evaluation of Plaintiffs damages to the Property and the

estimated damages were severely underestimated.

           A.      Noncompliance with Texas Insurance Code: Unfair Settlement Practices

33.        Defendant Backer's conduct constitutes multiple violations of the Texas Insurance Code,

Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). A l l violations under this article are

made actionable by TEX. INS. CODE § 541.151.

34.        Defendant Backer is individually liable for his unfair and deceptive acts, irrespective of the

fact Backer was acting on behalf of Allstate, because Backer is a "person" as defined by TEX. INS.

CODE       § 541.002(2). The term "person" is defined as "any individual, corporation, association,

partnership, reciprocal or interinsurance exchange, Lloyds plan, fraternal benefit society, or other

legal entity engaged in the business of insurance, including an agent, broker, adjuster or life and

health insurance counselor." TEX. INS. CODE § 541.002(2) (emphasis added). (See also Liberty


                                                     7
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                    Page 10 of 62 PageID 23




Mutual Insurance Co. v. Garrison Contractors, Inc., 966 S.W. 2d 482, 484 (Tex. 1998) (holding

an insurance company employee to be a "person" for the purpose of bringing a cause of action

against him or her under the Texas Insurance Code and subjecting him or her to individual

liability)).

35.     Defendants' misrepresentations by means of deceptive conduct include, but are not limited

to: (1) failing to conduct a reasonable inspection and investigation of Plaintiffs damages; (2)

stating that Plaintiffs damages were less severe than they in fact were; (3) using their own

statements about the non-severity of the damages as a basis for denying properly covered damages

and/or underpaying damages; and (4) failing to provide an adequate explanation for the inadequate

compensation Plaintiff received. Defendant Backer's unfair settlement practices, as described

above, of misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE § 541.060 (a)(1).

36.     Defendant Backer's unfair settlement practices, as described above, of failing to attempt

in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance.             TEX. INS. CODE §


541.060(a)(2)(A).

37.     Defendant Backer failed to explain to Plaintiff the reasons for the offer or offers of an

inadequate settlement.     Specifically, Defendant Backer failed to offer Plaintiff adequate

compensation without any explanation as to why full payment was not being made. Furthermore,

Defendant Backer did not communicate that any future settlements or payments would be
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                         Page 11 of 62 PageID 24




forthcoming to pay for the entire losses covered under the Policy, nor was there any explanation

for the failure as described above, of failing to promptly provide Plaintiff with a reasonable

explanation of the basis in the Policy, in relation to the facts or applicable law, for the offer of a

compromise settlement of Plaintiff s claim, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE § 541.060(a)(3).

38.         Defendant Backer's unfair settlement practices, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

39.         Defendant Backer did not properly inspect the Property and failed to account for and/or

undervalued Plaintiffs roof damage, although reported by Plaintiff to Allstate. Defendant

Backer's unfair settlement practices, as described above, of refusing to pay Plaintiffs claim

without conducting a reasonable investigation, constitutes an unfair method of competition, and

an unfair and deceptive act or practice in the business of insurance.               TEX. INS. CODE §

541.060(a)(7).

      II.        Causes of Action Against Allstate

40.         Allstate intentionally breached its contract with Plaintiff, intentionally violated the Texas

Insurance Code and intentionally breached the common law duty of good faith and fair dealing.

            A.      Breach of Contract

41.         Allstate breached the contract of insurance it had with Plaintiff. Allstate breached the

contract by its failure/and or refusal to adequately pay the claim as it is obligated to do under the

terms of the Policy in question and under the laws in the State of Texas.
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                      Page 12 of 62 PageID 25




        B.      Noncompliance with Texas Insurance Code: Unfair Settlement Practices

42.     Defendant Allstate's conduct constitutes multiple violations of the Texas Insurance Code,

Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). A l l violations under this article were

made actionable by TEX. INS. CODE § 541.151.

43.    Defendant Allstate's unfair settlement practice, as described above, of misrepresenting to

Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE §

5410.060(a)(1).

44.    Defendant Allstate's unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though Allstate's

liability under the Policy was reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance.               TEX. INS. CODE §

541.060(a)(2)(A).

45.    Defendant Allstate's unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or

applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE § 541.060(a)(3).

46.    Defendant Allstate's unfair settlement practices, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of compensation and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).


                                                  10
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                       Page 13 of 62 PageID 26




47.     Defendant Allstate's unfair settlement practice, as described above, of refusing to pay

Plaintiffs claim without conducting a reasonable investigation, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE   § 541.060(a)(7).

        C.      Noncompliance with Texas Insurance Code: Prompt Payment of Claims
                Statute

48.     Plaintiff is entitled to 18% interest and attorney fees under TEX. INS. CODE §542.060 for

violating the Texas Insurance Code, Prompt Payment of claims TEX. INS. CODE §542.051 et. seq.

49.     Allstate failed to acknowledge receipt of Plaintiff s claim, commence investigation of the

claim, and request from Plaintiff all items, statements, and forms that it reasonably believed would

be required within the applicable time constraints under TEX. INS. CODE §542.055.

50.     Allstate failed to notify Plaintiff in writing of its acceptance or rejection of the claim within

applicable time constraints under TEX. INS. CODE §542.056.

51.    Allstate delayed the payment of Plaintiffs claim following its receipt of all items,

statements, and forms reasonably requested and required, longer than the amount of time provided

for under TEX. INS. CODE §542.058.

        D.      Breach of the Duty of Good Faith and Fair Dealing

52.    Allstate breached the duty of good faith and fair dealing by failing to adequately and

reasonably investigate and evaluate Plaintiffs claim while it knew or should have Icnown, by the

exercise of reasonable diligence, that its liability was reasonably clear.

       E.      Knowledge

53.    Each of the acts described above, together and singularly, was done "knowingly" as that

term is used in the Texas Insurance Code.

                                                   11
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 14 of 62 PageID 27




                                           DAMAGES

54.    Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiff.

55.    The damages caused by the hail storm and/or windstorm have not been properly addressed

or repaired in the months since the storm, causing further damages to the Property, and causing

undue hardship and burden to Plaintiff. These damages are a direct result of Defendants'

mishandling of Plaintiff s claim in violation of the laws set forth above.

56.    For breach of contract, Plaintiff are entitled to regain the benefit of their bargain, which is

the amount of his claim, together with attorney's fees.

57.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the policy, court costs, and attorney's fees. For loiowing conduct of the acts described

above, Plaintiff ask for three times their actual damages. TEX. INS. CODE § 541.152.

58.    For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of the claim, as well as 18% (eighteen percent) interest per annum on the

amount of such claim as damages, together with attorney's fees. TEX. INS. CODE § 542.060.

59.    For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages and damages for emotional stress.

60.    For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is entitled


                                                 12
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                    Page 15 of 62 PageID 28




to recover a sum for the reasonable and necessary services of Plaintiffs attorney in the preparation

and trial of this action, including any appeals to the Court of Appeals and/or the Supreme Court of

Texas

                                        JURY DEMAND

61.     Plaintiff hereby demands a trial by jury and tender the appropriate fee.

                                        DISCOVERY REQUESTS

62.     Pursuant to Texas Rules of Civil Procedure 194, Plaintiff requests that each Defendant

disclose, within 30 days of service of this request, the information or materials described in Texas

Rule of Civil Procedure 194.2(a)-(l).

63.     Defendants are requested to respond to the attached interrogatories and requests for

production within fifty (50) days.

                                            PRAYER

64.     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this court site Defendants

to appear and answer herein and that Plaintiff has judgment taken against Defendants and recovers

from Defendants all damages allowed by law, and that Plaintiff be awarded attorneys' fees for trial

and any appeal of this case, for pre-judgment and post judgment interest as allowed by law, costs

of court, and such other and further relief, both general and special, at law or in equity, to which

Plaintiff is justly entitled.




                                                13
Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                  Page 16 of 62 PageID 29




                                 Respectfully submitted,

                                 T H E POTTS L A W F I R M , L L P



                                /s/ Matthew J. Worrall
                                Matthew J . Worrall
                                SBN: 24070883
                                William H. Barfield
                                SBN: 24031725
                                Andrew A. Woellner
                                SBN: 24060850
                                100 Waugh Drive, Suite 350
                                Houston, Texas 77007
                                Telephone (713) 963-8881
                                Facsimile (713) 574-2938
                                Emails: m w o r r a l l @ p o t t s - l a w . c o m
                                            wbarfield@potts-law.com
                                            awoellner@potts-law.com


                                ATTORNEYS FOR PLAINTIFF




                                   14
                Case 3:16-cv-00968-B Document      1-2 Filed 04/07/16 Page 17 of 62 PageID 30
                                       C I V I L CASE INFORMATION S H E E T

              CAUSE NUMBER (FOR CLERK USE ONLY) :                                                            . COURT (FOR CLERK USK ONLY): _

                             u a a
                STYLED J      Forras v. Allstate Texas Lloyds and David Frank Backer
                                  (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of ihe Estate of George Jackson)
  A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
  health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law ease. The information should be the best available at
  the time of filing.
 ^Contact inform^                                                                    Names of parties in case:                                     Person or entity completing sheet is:
                                                                                                                                                _|Attomey for Plamtiff/Pctitioner
  Name:                                       Email:                                 Plaintiffs/Petitioner^):                                   • P r o Se Plaintiff/Petitioner
                                                                                                                                                • T i t l e IV-D Agency
  Matthew J. Worrali                          mworraU@potts-law.com                  Juan Porras                                                •Other:

 Address:                                     Telephone:
                                                                                                                                                Additional Parties i n Child Support Case:
  100 Waugh Drive, Suite 350                  713-963-8881
                                                                                     Defendant(syRespondent(s):                                 Custodial Parent:
 City/State/Zip:                              Fax:
                                                                                     Allstate Texas Lloyds and
  Houston, Texas 77007                        713-574-2938                                                                                      Non-Custodial Parent;
                                                                                     David Frank Backer
 Signature:                                   State Bar No:
                                                                                                                                                Presumed Father:
                                              24070883
                                                                                    [Attach additional page as necessary to list alt parties]




                                                                                                                                                   Family Law
                                                                                                                                                             'sl'ost-jndgmcHt Actions-*
               Contract                       Injury or Damage                         Real Property                    Marriage Relationship                      (non-Title i V-J>)
 Debt/Contract                         •Assault/Battery                     • E m i n e n t Domain/                    •Annulment                           •Enforcement
   •Consumcr/DTPA                      •Construction                             Condemnation                          •Declare Marriage Void               •Modification—Custody
   •Debt/Contract                      •Defamation                          •Partition                                 Divorce                              •Modification—Other
   •Fraud/Misrepresentation            Malpractice                          • Q u i e t Title                             • W i t h Children                            Title
   • O t h e r Debt/Contract:            •Accounting                        •Trespass to Try Title                        • N o Children                   •Enforcement/Modification
                                         •Legal                             f l O d i e r Property:                                                        •Paternity
 Foreclosure                             •Medical                                                                                                          •Reciprocals (UIFSA)
    • H o m e Equity—Expedited           • O t h e r Professional                                                                                          • S u p p o r t Order
    • O t h e r Foreclosure                 Liability:
 •Franchise                                                                     •Related to Criminal:
 _|lnsurance                           • M o t o r Vehicle Accident                       Matters                          Other Family Law                  Parent-Child Relationship;
 •Landlord/Tenant                      •Premises                            •Expunction                                • E n f o r c e Foreign             •Adoption/Adoption with
 •Non-Competition                      Product Liability                    •Judgment Nisi                                 Judgment                           Termination
 •Partnership                            •Asbestos/Silica                   •Non-Disclosure                            •Habeas Corpus                      • C h i l d Protection
 • O t h e r Contract:                   • O t h e r Product Liability      • Seizure/Forfeiture                       • N a m e Change                    • C h i l d Support
                                             List Product:                  • W r i t o f Habeas Corpus                •Protective Order                   • C u s t o d y or Visitation
                                                                               Pre-indictmeut                          • R e m o v a l of Disabilities     •Gestational Parenting
                                       • O t h e r Injury or Damage:        •Other: _ _ _ _ _ _                            of Minority                     •Grandparent Access
                                                                                                                       •Other:                             •Parentage/Paternity
                                                                                                                                                           •Termination of Parental
           Employment                                               Other Civil                                                                               Rights
                                                                                                                                                           • O t h e r Parent-Child:
•Discrimination                         •Administrative Appeal              • L a w y e r Discipline
•Retaliation                            • A n t i h u s f Unfair            •Perpetuate Testimony
•Termination                                Competition                     • Securities/Stock
• W o r k e r s ' Compensation          • C o d e Violations                •Tortious Interference
• O t h e r Employment:                 • F o r e i g n Judgment            •Other:.
                                        •intellectual Property


                  Tax                                                                       Probate & Mental Health
  • T a x Appraisal                     Probate/Wills/Imestale Administration                                 • Guardianship—Adult
  • T a x Delinquency                     •Dependent Administration                                           •Guardianship—Minor
  • O t h e r Tax                         •independent Administration                                         • M e n t a l Health
                                          • O t h e r Estate Proceedings                                      •Other:

•g^jndicate pj-oce'dure br rcmedy^tf                 (may select morttthan J):
  • A p p e a l from Municipal or Justice Court                •Declaratory Judgment                                              •Prejudgment Remedy
  •Arbitration-related                                         •Garnishment                                                       •Protective Order
  •Attachment                                                  •interpleader                                                      •Receiver
  • B i l l o f Review                                         •License                                                           •Sequestration
  •Certiorari                                                  •Mandamus                                                          •Temporary Restraining Order/Injunction
  • C l a s s Action                                           •Post-judgment                                                     •Turnover
Itejntiicate d ^
 • L e s s than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 QLess than $100,000 and non-monetary relief
 • O v e r $ 100, 000 but not more than $200,000
 HOver $200,000 but not more than $1,000,000
 • O v e r $1,000,000
                                                                                                                                                                           Rev 2 / 1 3
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                 Page 18 of 62 PageID 31

                                                                                                                 FILED
                                                                                                   DALLAS COUNTY
                                                                                            1 0 / 8 / 2 0 1 5 4:35:15 PM
                                                                                                       FELICIA PITRE
                                                                                                    DISTRICT CLERK




                                                 FELICIA PITRE

                                     DALLAS COUNTY DISTRICT CLERK


NINA M O U N T I Q U E

CHIEF DEPUTY




                                     CAUSE NO. DC-15-12384




                                              JUAN PORRAS

                                vs. ALLSTATE TEXAS LLOYDS e t a I




                                         162nd District Court




                             ENTER DEMAND FOR JURY

                               JURY FEE PAID BY: JUAN PORRAS

                                           FEE PAID: $30.00




                         600 COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                              FAX (214)653-7781 E-mail: Felicia.Pitre@dallascovmty.org
                              Web site: littp://www.dallascounty.org/distclerk/index.html
FORM NO. 353-3 - CITATION                                                                                        CERT/MAIL

THE STATE OF TEXAS
                                                                                                             C-ITATICXN
To:    ALLSTATE TEXAS LLOYDS
       BY SERVING ITS REGISTERED AGENT, C. T. CORPORATION SYSTEM
       1999 BRYAN STREET, SUITE 900
       DALLAS, TEXAS 75201-3136                                                                             DC-15-12384-1
GREETINGS:
You have been sued. You may employ an attorney, if you or your attorney do not file a written                  JUAN PORRAS
answer with the clerk who issued this citation by 10 o'clock a,m. of the Monday next following the      vs. ALLSTATE TEXAS LLOYDS
expiration of twenty days after you were served this citation and petition, a default judgment may be
                                                                                                                    etal
taken against you. Your answer should be addressed to the
clerk of the 162nd District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being JUAN PORRAS                                                                                 ISSUED THIS
                                                                                                           14th day of October, 2015
Filed in said Court 8th day of October, 2015 against
                                                                                                              FELICIA PITRE
ALLSTATE TEXAS LLOYDS AND DAVID FRANK BACKER                                                                Clerk District Courts,
                                                                                                            Dallas County, Texas
For Suit, said suit being numbered DC-15-12384-L the nature of which demand is as follows:
Suit on INSURANCE etc. as shown on said petition»
a copy of which accompanies this citation . If this citation is not served, it shall be returned        By: SPRINGE MCKINLEY, Deputy
unexecuted.
                                                                                                                                       Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                                                                                                           Attorney for Plaintiff
WITNESS: FELICIA ?!           Cl erk of the Distri ct Courts of Dallas, County Texas,
                                                                                                          MATTHEW J. WORRALL
Given under my barn          ^gal of said Court at office this 14th day of October, 2015,
                                                                                                           THE POTTS LAW FIRM
ATTEST: P E I f ^ R                 flhe District Courts of Dallas, County, Texas                          100WAUGH SUITE 350
                                                                                                          HOUSTON, TEXAS 77007
                                                                       •Deputy                                  71V9fiV8881
                                                                                                                                       Page 19 of 62 PageID 32
                                                                                 OFFICER'S RETURN
Case No.: DC-15-123M

CourtNo. 162nd Distria Court

Style: JTJAN PORRAS

vs. A L L S T A T E T E X A S L L O Y D S et al


                                                                                                              0
Came to hand on the        ^   A-£~ZZ*->          d a y Q f   Q^tj^iL-j^-^, 20 ' 5~                T   at ^       • ^ & o'clock         -.M. Executed at

within the County of                                            at                 o'clock             .M. on the _                   day of

20                      . by delivering to the within named




each, in person, a true copy of this Citation,togetherwith the accompanying copy of this pleading, WAS MAILED UNITED S T A T E S CERTIFIED M A I L R E T U R N R E C E I P T

R E Q U E S T E D having first endorsed on same date of delivery. The distance actually traveled by rne in serving such process was                         miles and my lees are as follows: To

certify which witness my hand.



                                   For serving Citation              $ 1    (ppd

                                   For mileage                       $                                  of                        County,

                                    For Notary                       S                                  By                                               __JDeputy
                                                                                                                                                                                                   Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                                                                         (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                            before me this         day of                              , 20

to certify which witness my hand and seal of office.




                                                                                                                                               County,
                                                                                                                                                                                                   Page 20 of 62 PageID 33
           F O R M N O . 353-3 - C I T A T I O N                                                                            CERT/MAIL

           IMJtL o l A l l V U r           1   JDAAO
                                                                                                                        fTTATTON
           To:     DAVID FRANK BACKER
                   6717PARKSn>ECOlIRT
                   ARLINGTONjTOXAS 76016'
                                                                                                                       DC-15-12384-I
           GREETINGS:
           You have been sued. You may employ an attorney. If you or your attorney do not file a written
           answer w ith the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the            JUANPORRAS
           expiration of twenty days after you were served this citation and petition, a default judgment may be   vs. ALLSTATE TEXAS-LLOYDS
           taken against you. Your answer should be addressed to the                                                           etal
           clerk of the 162 nd District Court at 600. Commerce Street, Ste. 101. Dallas, Texas 75202.
                                                                                  >:




           Said Plaintiff being JUAN FORRAS
                                                                                                                           IS SUED THIS
           Filed in said Court 8th day of October, 2015 against                                                      14th day of October, 2015

           ALLSTATE TEXAS LLOYDS AND DAVID FRANK BACKER                                                                  FELICIA PURE
                                                                                                                       Clerk District Courts,
                                                                                                  ;
           For Suit, said suit being numbered DC-15-12384-L the nature of which demand isas follows:                   Dallas County, .Texas
           Suit oh INSURANCE etc. as shown on said petition ,
           a: copy of which accompanies this citation. I f this citation is not served, it shall be returned
           unexecuted.                                                                                             By: SPRINGE MCKINLEY, Deputy
                                                                                                                                                  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




           WITNESS : FELICIA PIT^E, Cierk of the District Courts of Dallas, County Texas.
                                                                                                                      Attorney for Plaintiff
           Given under my h M d ^ ^ < ^                             14th day of October, 2015.
                                                                                                                     MATTHEW J. WORRALL
                                          :*•••%,%                                                                    THE POTTS LAW FIRM
           ATTEST: EELIClA.HTE^^^
                                                                                                                      100 WAUGH SUITE 350
                                                                                                                     HOUSTON, TEXAS: 77007
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                                                                                                                                      * PAID
                                                                        OFFICER'S RETURN
Case No.: DC-I5-I2384
Court No. 162nd District Court
Style: JUAN PORRAS
vs. ALLSTATE TEXAS LLOYDS et a!


                       1                                                                              r       : 3
Came to hand on the        ^              day of   &LIMJU*M^> ^                 2 0   / 5"     ,t a       ^         1^ o'clock Q        M. Executed .at
within the County of                                   at                 o'clock            .M. on the                            day of
20                  » by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, WAS MAILED UNITED STATES CERTIFIED MAIL RETURN RECEIPT
REQUESTED havingfirstendorsed on same date of delivery. The distance actually traveled by me in serving such process was.                                 miles and my fees are as follows: To
certify which witness my hand.


                               For serving Citation         $   KQQ       ®

                               For miicage                  $                                of                             County,
                                                                                                                                                                                                 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                               For Notary                                                     By_                                                    ^Deputy
                                                                (Must be verified i f served outside the State of Texas.)
Signed and sworn to by the said_                                 before me this           day of                                   , 20_
to certify which witness my hand and seal of office.




                                                                                                                                        _County_
                                                                                                                                                                                                 Page 22 of 62 PageID 35
                                                                          OFFICER'S RETURN
Case No.: DC-15-12384

Court No. 162nd District Court
Style: IUANPORRAS
vs. ALLSTATE TEXAS LLOYDS et ai


Came to hand on the    <4--n^          d a v o f   {&<QLJL^^ IS                         , fo:^go'clock
                                                                                          at                        Q^-M,^^X'^1                                  6M^^-^-^°°
                                                                                                                C                                  He 7
within the County of                                   at ^                o'clock     ^ - . M . on the ^        fT^—        _day of_

20



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                     _                                             /UCu^tJO                                   _
each, in per&n, a true copy of this Citationtogetherwith this accompanying cop}' of this pleadi^, WAS MAILED UNITED STATES CERTIFIED MAIL RETURN RECEIPT
REQUESTED havingfirstendorsed on same date of delivery. The distance actaaliy traveled by me in serving, such process was                                         ows: To
certify which witness my hand.


                             For serving Citation             $-7 (pOO
                              For mileage                     $
                              For Notary
                                                                                                                                                                              Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                                                                  (Must be verified If served outside the State of Texas.)

Signed and sworn to by the said_                                   before me this          day of                             . 20,
to certify which witness my hand and seal of office.

                                                                                                                                               FELICIA PURE
                                                                                                                                               DISTRICT CLERK
                                                                                               Notary Public_                         County   600 COMMERCE STREET
                                                                                                                                               DALLAS, TEXAS 752024606
                                                                                                                                                                              Page 23 of 62 PageID 36
FORM NO. 353-3 - CITATION                                                                                          CERT/MAIL
T H E STATE OF TEXAS
                                                                                                              CITATION
To:    ALLSTATE TEXAS LLOYDS
       BY SERVING ITS REGISTERED AGENT, C T. CORPORATION SYSTEM
       1999 BRYAN STREET, SUITE 900
       DALLAS, TEXAS 75201-3136                                                                              DC-15-12384-I
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not file a written                     JUAN PORRAS
answer with the clerk who issued this citation by 10 o'clock a.m. offeeMonday next following the        vs. A L L S T A T E TEXAS L L O Y D S
expiration of twenty days after you were served this citation and petition, a default judgment may be
                                                                                                                          etal
taken against you. Your answer should be addressed to the
clerk ofthe lfflSd District Court at 600 Commerce Street, Stc 101, Dallas, Texas 752021
                                                                                                                 ISSUED THIS
Said Plaintiff being JUAN PORRAS                                                                           14th day of October, 2015
Filed in said Court 8th day of October, 2015 against                                                          FELICIA PITRE
                                                                                                            Clerk District Courts,
ALLSTATE TEXAS LLOYDS AND DAVID FRANK BACKER
                                                                                                            Dallas County, Texas
For Suit, said suit being numbered DC-15-12384-I. the nature of which demand is as follows:
Suit on INSURANCE etc. as shown on said petition,
a copy of which accompanies this citation. If this citation is not served, it shall be returned         By: SPRINGE MCKINLEY, Deputy
unexecuted.
                                                                                                                                                Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




WITNESS: FELICIA^Pfifife-Cierk ofthe District Courts of Dallas, County Texas.                              Attorney for Plaintiff
Given under my han<f^pS^^al of said Court at office this 14th day of October, 2015.                       MATTHEW J. WORRALL
                                                                                                           THE POTTS LA W FIRM
ATTEST: FELjqS^'R                   03tke District Courts of f^allas, County, Texas                        100 WAUGH SUITE 350
                                                                                                          HOUSTON, TEXAS 77007
                                                                      , Deputy                                  713-963-8881
                % ^ > ; ~ < $ & & N G E MCKINLEY               J-


                                                                                                                            QCmtASLt
                                                                                                                                                Page 24 of 62 PageID 37
   Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16               Page 25 of 62 PageID 38

*gsgf UNITED STATES
W£m POSTAL SERVICE,




 Date: October 19,2015

 MAIL MAIL:

The foliowing is in response to yodr October 19, 2015 request for delivery information on
your Certifled Mail™/RRE item number 92148901066154000070250417. The delivery
record shows that this item was delivered on October 19,2015 at 9:20 am in DALLAS,
TX 75201. The scanned image ofthe recipient information is provided below.

 Signature of Recipient:




Address of Recipient:

                                   (2- - f • (2x>sp
Thank you for selecting the Postal Service for your mailing needs.

If you require additional assistance^, please contact your local Post Office or postal
representative.

Sincerely,
United States Postal Service




The customer reference information Shown below is not validated or endorsed by the
United States Postal Service, It is solely for customer use.


                               DC1512384-I SM DP
                               ALLISTATE TEXAS LLOYDS
                               BY SERVING ITS REGISTERED AGENT, C.T. CORPORATION
                               SYSTEM
                               1999 BRYAN ST STE 900
                                                                                                                          FILEb
     Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                             Page 26 of 62 PageID 39DALLAS COUNTV
                                                                                                          11/9/2015 10:07:31 A^l
                                                                                                                 FELICIA PITR£
                                                                                                               DISTRICT CLERK



                                              CAUSE NO. DC-15-12384

JUANPORRAS,                                                           §   IN THE DISTRICT COURT OF

         Plaintiff,

v.                                                                    §   DALLAS COUNTY, TEXAS

ALLSTATE TEXAS LLOYD'S and DAVID
FRANK BACKER,

          Defendants.                                                 §   162ND JUDICIAL DISTRICT


                DEFENDANT A L L S T A T E TEXAS LLOYD'S V E R I F I E D DENIAL
                                AND ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Allstate Texas Lloyd's (Defendant), and files this Verified Denial and

Original Answer and would respectfully show the following:

                                                                I.

                                                 VERIFIED DENIAL

          1.1       Pursuant to Texas Rule of Civil Procedure 93, Defendant specifically denies that

it is a proper party to this lawsuit. Defendant denies that it contracted with Plaintiff, as alleged in

the Petition, or otherwise committed any of the acts or omissions that Plaintiff alleges against

Defendant in the Petition.

                                                                II.

                                                ORIGINAL ANSWER

         2.1       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally

denies each and every, all and singular, the allegations contained within Plaintiffs Original Petition,

and demands strict proof thereon by a preponderance of the credible evidence in accordance with

the Constitution and laws of the State of Texas.
                                                                                 EXHIBIT

                                                                             i
Defendant's Verified Denial and First Amended Original Answer                                        Page 1
2311116v1
09999.999
   Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                              Page 27 of 62 PageID 40



                                                                in.
                                                         PRAYER

 WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Texas Lloyd's prays that upon

 final trial and hearing hereof, Plaintiff recover nothing from Defendant, but Defendant goes

 hence without delay and recovers costs of court and other such further relief, both general and

 special, to which Defendant may be justly entitled.




                                                           Respectfully submitted,



                                                           Is/ Roger D. Higgins              ___
                                                           Roger D. Higgins
                                                           State Bar No. 09601500
                                                           THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                                                                 th
                                                           700 N. Pearl Street, 25 Floor
                                                           Dallas, Texas 75201
                                                           Telephone: (214) 871-8200
                                                           Telecopy: (214) 871-8209
                                                           Email: rhiggins@thompsoncoe.com

                                                           ATTORNEY FOR DEFENDANT




Defendant's Verified Denial and First Amended Original Answer                                     Page 2
2311116v1
09999.999
   Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                              Page 28 of 62 PageID 41



                                            CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served by
 electronic file notification and/or facsimile to the following counsel on November 9, 2015:

           Matthew J. Worrall
           William H. Barfield
           Andrew A. Woellner
           The Potts Law Firm, LLP
           100 Waugh Drive/Suite 350
            Houston, Texas 77007
           mworrall(S),potts-law. com
           wbarfield@potts-law.com
           awoellner@potts-law.com



                                                           IsiRoger D. Hiseins
                                                           Roger D. Higgins




Defendant's Verified Denial and First Amended Original Answer                                     Page 3
2311116v1
09999.999
   Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                           Page 29 of 62 PageID 42



                                                      VERIFICATION

 STATE OF TEXAS                                   §
                                                  §
 COUNTY OF DALLAS                                 §

         BEFORE ME, the undersigned authority, on this day personally appeared Vanessa Rosa
 for Allstate Texas Lloyd's and after being by me first duly sworn upon her oath deposes and says
 that she is personally acquainted with the facts herein stated, and has read the above and
 foregoing Defendant's Verified Denial and Original Answer, and that every factual statement
 contained in Defendant's Verified Denial and Original Answer is within her personal knowledge
 and are true and correct.                              /




           SUBSCRIBED AND SWORN TO this 9th day of November, 2015.




                                                                Notary Printed Name

 My Commission Expires:




Defendant's Verified Denial and First Amended Original Answer                                  Page 4
2311116v1
09999.999
                                                                                                                                               FILEp
     Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                    Page 30 of 62 PageID 43 DALLAS COUNTiY
                                                                                                                                12/7/2015 10:48:31 AM
                                                                                                                                       FELICIA PITRE
                                                                                                                                     DISTRICT CLERK

                                          THOMPSON
                                             COE
                                         Thompson, Coe, Cousins & Irons, L.L.P.
                                                    Attorneys and Counselors
John B. Reyna                                                                                                            Austin
Direct Dial: (214) 871-8218                                                                                              Dallas
jreyna@thompsoncoe.com                                                                                                 Houston
                                                                                                                    Los Angeles
                                                                                                                      Saint Paul

                                                    December 7, 2015




    Matthew J. Worrall
    THE POTTS LAW FIRM, LLP
    100 Waugh Drive, Suite 350
    Houston, Texas 77007


              Re:      Cause No. DC-15-12384-I, Juan Porras v. Allstate Texas Lloyd's and Frank
                       Backer, in the 162nd Judicial District, Dallas County, Texas

    Dear Mr. Worrall:

            This letter will serve as a Rule 11 Agreement that Plaintiff Juan Porras and Defendant
    Allstate Texas Lloyd's agree to set the deadline for Defendant Allstate Texas Lloyd's to serve its
    objections, answers and responses to Plaintiffs First Set of Interrogatories, First Set of Request
    for Production, and Requests for Disclosure to December 28, 2015.

            If this accurately reflects our agreement, please sign in the space provided below and
    return this letter back to me. Thank you.

                                                                    Sincerely,




                                                                    John       Reyna                                     ~


             AGREED AS TO FORM AND CONTENT:




             Matthew J. Woirall


   2327329V1
   00364.999

 Plaza of the Americas | 700 N . Pearl Street, Twenty-Fifth Floor | Dallas, TX 75201-2832 | (214)871-8200 | Fax:(214)871-8209
                                                                         OFFICER'S RETURN
Case No.; DC-15-12384
Court No.I62nd District Court
Style: JUAN PORRAS
vs. ALLSTATE TEXAS LLOYDS et al

                                                                                                                                                 Ci
                         1       X                     @€LA*^ ^             2 Q   t*T    ta t    fO:3^ <0    clock     CL-.M.    Executed   at ^4<^^c£jj^                          ,
Cametohand on the            ^        ^       day of
within the County of                                        at             o'clock              .M. on the                   day of

20                     , by delivering to the within named




each, in person, a true copy of this Citationtogetherwith the accompanying copy of this pleading, WAS MAILED UNITED STATES CERTIFIED MAIL RETURN RECEIPT
REQUESTED havingfirstendorsed on same date of delivery. The distance actually traveledfayme in serving such process was                                miles and my fees are as follows; To

certify which witness my hand.


                                     For serving Citation        $ 1 <o .0«
                                     For mileage                                                 of_ . s?              ^JJounty, _ _ )
                                                                                                                                                                                              Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                                     For Notary                                                  By. ^ j f e * * ^ ^                                  Dept y

                                                                                                   de the State of Texas.)
                                                                  (Must be verified if served outside                                        V

Signed and sworntoby the said_                                     before me this           day of

to certify which witness my hand and seat of office.




                                                                                                Notary Public,                        _County_
                                                                                                                                                                   [A PITRE
                                                                                                                                                      DISTRICT CLERK
                                                                                                                                                      600 COMMERCE STREET
                                                                                                                                                      DALLAS, TEXAS 752024808
                                                                                                                                                                                              Page 31 of 62 PageID 44
FORM NO. 353-3 - CITATION                                                                                         CERT/MAIL
                              1
1 l i t ; O A A A III V / A       A I/AiVO
                                                                                                             CITATION
To;    DAVID FRANK BACKER
       6717 PARKSIDE COURT
       ARLINGTON, TEXAS 76016
                                                                                                            DC-15-12384-I
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not file a written
ans wer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the            JUAN PORRAS
expiration of twenty days after you were served this citation and petition, a default judgment may be   vs. ALLSTATE TEXAS LLOYDS
taken against you. Your answer should be addressed to the                                                           et ai
clerk of the 162 nd District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being JUAN PORRAS
                                                                                                                ISSUED THIS
Filed in said Court 8th day of October, 2015 against                                                      14th day of October, 2015

ALLSTATE TEXAS LLOYDS AND DAVID FRANK BACKER                                                                  FELICIA PURE
                                                                                                            Clerk District Courts,
For Suit* said suit being numbered DC-15-12384-L the nature of which demand is as follows:                  Dallas County, Texas
Suit on INSURANCE etc. as shown on said petition,
a copy of which accompanies this citation. If this citation is not served, it shall be returned
unexecuted.                                                                                             By: SPRINGE MCKINLEY, Deputy
                                                                                                                                        Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




WITNESS: FELICIA PITRJ& Clerk of the District Courts of Dallas, County Texas.
                                                                                                           Attorney for Plaintiff
Given tinder my hand^S^^Si^i^f'iMid Court at office this 14th day of October, 2015.
                                                                                                          MATTHEW J. WGRRALL
ATTEST: FELICIA PJTRB^^eJk oY&efDistrict Courts of Dallas, County, Texas                                   THE POTTS LAW FIRM
                                                                                                           100WAUGH SUITE 350
                                                                                                          HOUSTON, TEXAS 77007
                                                                                                                713-963-8881




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                                                                                                                                        Page 32 of 62 PageID 45




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Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                  Page 34 of 62 PageID 47




                                       In The District Court
                                     of Dallas County, Texas
                                       162nd District Court
                                                                                             December 14, 2015

 ROGER DHIGGINS
 THOMPSON COE COUSINS & IRONS LLP
 PLAZA OF THE AMERICAS
 700 N PEARL ST TWENTY-FIFTH FL
 DALLAS         TX 75201-2832




 IN RE: DC-15-12384
        JUAN PORRAS vs. ALLSTATE TEXAS LLOYDS et al

   THE COURT REQUIRES A COURTESY COPY OF ALL PLEADINGS SCHEDULED
             FOR HEARING ONE WEEK BEFORE THE HEARING

 PLEASE NOTE THE FOLLOWING:

 ORDER SIGNED.


 Melinda Thomas, Court Coordinator
 162nd Judicial District Court
 George L. Allen, Sr. Courts Bldg. - 7th Floor
 600 Commerce Street, Room 73 0B
 Dallas, TX 75202
 214-653-7348 (office)
 214-653-7195 (fax)
 mthomas(3>,dallascourts.org
 Review your case information at: http://courts.dallascounty.org
 Revised Dallas Local Rules can be found at: www.dallascourts.com-rules-locrulnw.htm.url

  UPDATE YOUR CONTACT INFORMATION AT:                                                      www.dallascourts.com




                All counsel of record and pro se litigants must be copied
                   on all e-mail and fax communications to the Court
          'MEDIATION MUST OCCUR PRIOR TO YOUR T R I A L SETTING'
Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                  Page 35 of 62 PageID 48




                                       In The District Court
                                      of Dallas County, Texas
                                        162nd District Court
                                                                                             December 14, 2015

 MATTHEW WORRALL
 THE POTTS LAW FIRM
 100WAUGH SUITE 350
 HOUSTON TX 77007




 IN RE: DC-15-12384
        JUAN PORRAS vs. ALLSTATE TEXAS LLOYDS et al

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Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                  Page 36 of 62 PageID 49




                                       In The District Court
                                      of Dallas County, Texas
                                        162nd District Court
                                                                                             December 14, 2015

 DAVID FRANK BACKER
 6717 PARKSJJDE COURT
 ARLINGTON TX 76016




 I N RE: DC-15-12384
         JUAN PORRAS vs. ALLSTATE TEXAS LLOYDS et al

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         "MEDIATION MUST OCCUR PRIOR TO YOUR T R I A L SETTING"
Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                  Page 37 of 62 PageID 50




                                        In The District Court
                                      of Dallas County, Texas
                                        162nd District Court
                                                                                             December 14, 2015

 J DAVID APPLE
 APPLE & FINK LLP
 735 PLAZA BLVD SUITE 200
 COPPELLTX 75019




 IN RE: DC-15-12384
        JUAN PORRAS vs. ALLSTATE TEXAS LLOYDS et al

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Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                               Page 38 of 62 PageID 51




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                                       CAUSE NO: DC-1S-12384
    JUAN PORRAS
                                                                     In the District Court
    vs. A L L S T A T E TEXAS LLOYDS et al
                                                                     Dallas County, Texas
                                                                     162nd District Court
                     162nd UNIFORM SCHEDULING ORDER (LEVEL 1 OR 2)
                        (Revised for the 1'62** District Court September 16,2015)

            In accordance with Rules 166, 190 and 192 of the Texas Rules of Civil Procedure, the
     Court makes the following order to control discovery and the schedule of this cause,

               1,      This case will be ready and is set for Jury trial on JO/17/2016 at 9:00 a.m. (the
     "Initial Trial Setting"). Reset or continuance of the Initial Trial Setting will not alter any
     deadlines established in this Order or established by the Texas Rules of Civil Procedure, unless
     otherwise provided by order. All parties are required to announce for trial on the Thursday before
     their trial begins on Tuesday at 9:30 a.m. Failure to announce by 10:30 a.m. on the Friday before
     the designated trial setting may result in Dismissal of the case. Cases not reached on the
     designated trial date are to be ready for trial'on a 24-hour notice during their two-week trial
     docket, If not reached as set, the case will be carried to the next week,

     2.      Unless otherwise ordered, discovery in this case will be controlled by:
             D       Rule 190.2 (Level 1)

            %        Rule 190.3 (Level 2)

     of the Texas Rules of Civil Procedure, Except by agreement of the party, leave of court, or where
     expressly authorized by the Texas Rules of Civil Procedure, no party may obtain discovery of
     information subject to disclosure under Rule 194 by any other form of discovery,

             3,      Any objection or motion to exclude or limit expert testimony due to qualification
    of the expert or reliability of the opinions must be filed no later than seven (7) days after the close
    of the discovery period, or such objection is waived. Any motion to compel responses to
    discovery (other than relating to factual matters arising after the end of the discovery period) must
    be filed no later than seven (7) days after the close of the discovery period or such complaint is
    waived, except for the sanction of exclusion under Rule 193.6.

             4.      Any amended pleadings asserting new causes o f action or affirmative defenses
    must be filed no later than thirty (30) days before the end of the discovery period and any other
    amended pleadings must be filed no later than seven (7) days after the end of the discovery
    period. Amended pleadings responsive to timely filed pleadings under this schedule may be filed
    after the deadline for amended pleadings if filed within two (2) weeks after the pleading to which
    they respond. Except with leave of court, TRCP 166a(c) motions must be heard no later than
    thirty (30) days before trial.


    UNIFORM SCHEDULING ORDER (LEVEL 1 OR 2) -PAGE 1
Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                      Page 39 of 62 PageID 52




            5.      No additional parties may be joined more than five (5) months after the
    commencement of this case except on motion for leave showing good cause, This paragraph does
    not otherwise alter the requirements of Rule 38. The party joining an additional party shall serve
    a copy of this Order on the new party concurrently with the pleading joining that party.

            6.     The parties shall mediate this case no later than thirty' (30) days before the Initial
    Trial Setting, unless otherwise provided by court order. Named parties shall be present during the
    entire mediation process and each corporate party must be represented by an executive officer or
    corporate representative with authority to negotiate a settlement,

                Unless, within 14 days of this Order, the parties file a Joint Notice of Agreed Upon
    Substitute Mediator the parties agree to mediate this case with J DAVID APPLE @ Work; 972-
    315-1900. Fax: 972-315-1955, Any Joint Motion Requesting Appointment should include a brief
    description of the nature of the dispute, and any novel legal, language, demographic, or other
    issues the parties desire to have the Court consider in appointing a mediator. The provisions
    contained herein regarding mediation will be strictly enforced. Parties violating the requirements
    of this Order will be required to show cause as to why they are in violation of same.

             7,       Fourteen (14) days before the Initial Trial Setting, the parties shall exchange a list
    of exhibits, including any demonstrative aids and affidavits, and shall exchange copies of any
    exhibits not previously produced in discovery; over-designation is strongly discouraged and may
    be sanctioned. Except for records to be offered by way of business record affidavits, each exhibit
    must be identified separately and not by category or group designation. Rule 193.7 applies, to this
    designation. On or before ten (10) days before the Initial Trial Setting, the attorneys in charge for
    all parties shall meet in person to confer on stipulations regarding the materials to be submitted to
    the Court under this paragraph and attempt to maximize agreement on such matters. By noon on
    the Thursday before the Initial Trial Setting, the parties shall file with the Court the materials
    stated in Rule 166(e)-(l), an estimate o f the length of trial, designation of deposition testimony to
    be offered in direct examination, and any motions in limine. Failure to file such materials may
    result in dismissal for want of prosecution or other appropriate sanction.

           Plaintiff/Plaintiffs counsel shall serve a copy of this Order on any currently named
    defendant(s) answering after this date,

    SIGNED j t £ £ _ DAY OF DECEMBER, 2015.




                                                                     District Judge



     cc: Counsel of Record/Pro Se Parties and Mediator
     UNIFORM S C H E D U L I N G O R D E R { L E V E L I O R 2 } - P A O E %
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   Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                          Page 40 of 62 PageID12/30/2015
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                                                                                                                 DISTRICT C L E R K


                                         THOMPSON
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                                        Thompsony Goe, Cousins & Irons, L.L.P,
                                                Attorneys and Counselors
John B, Reyna                                                                                          Austin
Direct Dial: (214) 871-8218                                                                             Dallas
jrey na@thompsoncoe,com                                                                               Houston
                                                                                                  Los Angeles
                                                                                                    Saint Paul

                                                December 28,2015




    Matthew X. Worrall
    THE POTTS LAW FIRM, LLP
    100 Waugh Drive, Suite 350      :

    Houston, Texas 77007

              Re:      Cause No. DC-15-12384~I,;Juan Porrasy. Allstate Texas Lloyd's and Frank:
                       Backer, in. the 162n.d Judieiaipistrict, Pallas County,. Texas


    Dear Mr, WJbrrall;

            This letter will serve as a Rule 11 Agreement that Plainti ff Juan Porras and Defendant
    Allstate Texas Lloyd's agree to set the deadline for Defendant Allstate Texas Lloyd's to serve its
    objections, answers and responses to Plaintiffs First Set of Interrogatories, First Set of Request
    for Production, and Requests for Disclosure to January 6, 2016.

            If this accurately reflects our agreement,, please sign m the space provided: below and
    return this letter back to me. Thank you.




             AGREED^ AS TO FORM Alp) CONTONTr




             Matthew T Worrall

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 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 41 of 62 PageID 54 DALLAS COUNTY
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                                                                                                       Tonya Pointer
                                          Cause No. DC-15-12384

 JUAN PORRAS                                           §                    IN THE DISTRICT COURT
                             Plaintiff,                §
 v.                                                    §
                                                       §                   DALLAS COUNTY, TEXAS
 ALLSTATE TEXAS LLOYDS AND DAVID                       §
 FRANK BACKER                                          §
                                                                                nd
                   Defendant                           §                   162 JUDICIAL DISTRICT


                         PLAINTIFF'S FIRST AMENDED PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Juan Porras, Plaintiff (hereinafter referred to as "Plaintiff), and file this

First Amended Petition against Defendants, Allstate Texas Lloyds ("Allstate"), Allstate Vehicle

and Property Insurance Company ("Allstate Vehicle") and David Frank Backer ("Backer") (to

whom will be collectively referred to as "Defendants"), and respectfully would show this court as

follows:

                                               PARTIES

1.       Plaintiff, Juan Porras, is an individual residing in and/or owning property in Dallas County,

Texas.

2.       Defendant, Allstate, is an insurance company that engaged in the business of insurance in

the State of Texas at all times material to this action. This defendant may be served by serving its

Registered Agent for service of process: C T Corporation System, 1999 Bryan Street, Suite 900,

Dallas, Texas 75201-3136, by certified mail, return receipt requested.

3.       Defendant, David Frank Backer, is an individual residing in and domiciled in the State of

Texas. This defendant may be served via certified mail, return receipt requested at 6717 Parkside

Court, Arlington, Texas 76016.
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 42 of 62 PageID 55




4.      Defendant, Allstate Vehicle, is an insurance company that engaged in the business of

insurance in the State of Texas at all times material to this action. This defendant may be served

by serving its Registered Agent for service of process: C T Corporation System, 1999 Bryan Street,

Suite 900, Dallas, Texas 75201-3136, by certified mail, return receipt requested.

                                      DISCOVERY L E V E L

5.      Plaintiff intends for discovery to be conducted under Level 2 of Rule 190 of the Texas

Rules of Civil Procedure.

                                         JURISDICTION

6.      The Court has jurisdiction over this controversy because the damages are within the

jurisdictional limits of this court. Plaintiff is seeking monetary relief over $200,000 but not more

than $ 1,000,000. Plaintiff reserves the right to amend this petition during and/or after the discovery

process.

7.      The Court has jurisdiction over Defendant, Allstate Vehicle, because this defendant

engaged in the business of insurance in the State of Texas, and Plaintiffs causes of action arise

out of defendant's business activities in the State of Texas.

8.      The Court has jurisdiction over Defendant, Backer, because this defendant engages in the

business of adjusting insurance claims in the State of Texas, and Plaintiffs causes of action arise

out of defendant's business activities in the State of Texas.

                                              VENUE

9.     Venue is proper in Dallas County, Texas, because the insured property is situated in Dallas

County, Texas. TEX. Civ. PRAC. & REM. CODE § 15.032.




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 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                       Page 43 of 62 PageID 56




                                               FACTS

10.     Plaintiff is the owner of a property insurance policy ("the Policy") issued by Allstate

Vehicle.

11.     Plaintiff owns the insured property located at 7105 Melton Dr., in Dallas County

(hereinafter referred to as "the Property"). Allstate Vehicle sold the Policy insuring the Property

to Plaintiff.

12.     On or about June 17, 2015, a hail storm and/or windstorm struck Dallas County, Texas,

causing severe damage to homes and businesses throughout the region ("the Storm") including the

Property. The Storm damaged the Property including extensive damage to Plaintiffs roof.

13.     Plaintiff subsequently submitted a claim to Allstate Vehicle for the damage the Property

sustained as a result of the Storm. Plaintiff requested that Allstate Vehicle cover the cost of repairs,

including but not limited to, replacement of the roof pursuant to the property.

14.     Defendant Allstate Vehicle assigned Backer as the individual adjuster ("the adjuster") on

the claim. The adjuster was improperly trained and failed to perform a thorough investigation of

the claim spending an inadequate amount of time inspecting Plaintiffs property. The adjuster

conducted a substandard inspection of Plaintiffs Property evidenced by the adjuster's report,

which failed to include all of Plaintiff s storm damages noted upon inspection. The damages the

adjuster included in the report were grossly undervalued and did not allow for adequate funds to

cover the cost of repairs to all the damages sustained.

15.     Allstate Vehicle and its personnel failed to thoroughly review and properly supervise the

work of their assigned adjusters which ultimately led to the approving an improper adjustment and

an inadequately unfair settlement of Plaintiffs claim. As a result of Defendants' wrongful acts


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 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 44 of 62 PageID 57




and omissions set forth above and further described herein, Plaintiff was wrongfully denied on the

claim and has suffered damages.

16.     Together, Defendants set about to deny and/or underpay on properly covered damages.

Defendants failed to provide full coverage for the damages sustained by Plaintiff and under-scoped

Plaintiffs damages, thereby denying adequate and sufficient payment on Plaintiffs claim. As a

result of Defendants' unreasonable investigation, Plaintiffs claim was improperly adjusted, and

Plaintiff was wrongfully denied on the claim and has suffered damages. The mishandling of

Plaintiffs claim has also caused a delay in Plaintiffs ability to fully repair the Property, which has

resulted in additional damages. To this date, Plaintiff has yet to receive the full payment that he

is entitled to under the Policy.

17.    As detailed in the paragraphs below, Allstate Vehicle wrongfully denied Plaintiffs claim

for repairs of the Property, even though the Policy provided coverage for losses such as those

suffered by Plaintiff.

18.    To date, Allstate Vehicle continues to delay in the payment for the damages to the Property.

As such, Plaintiff has not been paid in full for the damages to the Property.

19.    Defendant Allstate Vehicle failed to perform its contractual duties to adequately

compensate Plaintiff under the terms of the Policy. Specifically, it refused to pay the full proceeds

of the Policy, although due demand was made for proceeds to be paid in an amount sufficient to

cover the damaged property, and all conditions precedent to recovery upon the Policy had been

carried out and accomplished by Plaintiff. Allstate Vehicle's conduct constitutes a breach of the

insurance contract between Allstate Vehicle and Plaintiff.

20.    Defendants misrepresented to Plaintiff that the damage to the Property was not covered


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 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                      Page 45 of 62 PageID 58




under the Policy, even though the damage was caused by a covered occurrence. Defendants'

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX.

INS. CODE   § 541.060(a)(1).

21.    Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner, although

they were aware of their liability to Plaintiff under the Policy. Defendants' conduct constitutes a

violation of the Texas Insurance Code, Unfair Settlement Practices.              TEX. INS. CODE §

541.0060(a)(2)(A).

22.    Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation, without any

explanation why full payment was not being made. Furthermore, Defendants did not communicate

that any future settlements or payments would be forthcoming to pay for the entire losses covered

under the Policy, nor did they provide any explanation for the failure to adequately settle Plaintiff s

claim. Defendants' conduct is a violation of the Texas Insurance Code, Unfair Settlement

Practices. TEX. INS. CODE § 541.060(a)(3).

23.    Defendants failed to affirm or deny coverage of Plaintiff s claim within a reasonable time.

Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding the

full and entire claim, in writing from Defendants. Defendants' conduct constitutes a violation of

the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a)(4).

24.    Defendants refused to fully compensate Plaintiff, under the terms of the Policy, even

though Defendants failed to conduct a reasonable investigation. Specifically, Defendants

performed an outcome-oriented investigation of Plaintiffs claim, which resulted in a biased,

unfair, and inequitable evaluation of Plaintiffs claim on the Property. Defendants' conduct


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 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 46 of 62 PageID 59




constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

§ 541.060(a)(7).

25.    Defendant Allstate Vehicle failed to meets it obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiff s claim,

and requesting all information reasonably necessary to investigate Plaintiffs claim, within the

statutorily mandated time of receiving notice of Plaintiffs claim. Allstate Vehicle's conduct

constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE

§ 542.055.

26.    Defendant Allstate Vehicle failed to accept or deny Plaintiffs full and entire claim within

the statutorily mandated time of receiving all necessary information. Allstate Vehicle's conduct

constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE

§ 542.056.

27.    Defendant Allstate Vehicle failed to meet its obligations under the Texas Insurance Code

regarding payment of claim without delay. Specifically, it has delayed full payment of Plaintiff s

claim longer than allowed and, to date, Plaintiff has not received full payment for the claim.

Allstate Vehicle's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment

of Claims. TEX. INS. CODE § 542.058.

28.    From and after the time Plaintiffs claim was presented to Defendant Allstate Vehicle, the

liability of Allstate Vehicle to pay the full claim in accordance with the terms of the Policy was

reasonably clear. However, Allstate Vehicle has refused to pay Plaintiff in full, despite there being

no basis whatsoever on which a reasonable insurance company would have relied to deny the full

payment. Allstate Vehicle's conduct constitutes a breach of the common law duty of good faith
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                      Page 47 of 62 PageID 60




and fair dealing.

29.        Defendants knowingly or recklessly made false representations, as described above, as to

material facts and/or knowingly concealed all or part of material information from Plaintiff.

30.        As a result of Defendants' wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the attorney and law firm who are representing them with respect to these

causes of action.

31.        Plaintiffs experience is not an isolated case. The acts and omissions Allstate Vehicle

committed in this case, or similar acts and omissions, occur with such frequency that they

constitute a general business practice of Allstate Vehicle with regard to handling these types of

claims. Allstate Vehicle's entire process is unfairly designed to reach favorable outcomes for the

company at the expense of the policyholders.

                                       CAUSES OF ACTION

32.        Each of the foregoing paragraphs is incorporated by reference in the following:

      I.      Causes of Action Against Backer

33.        Allstate Vehicle assigned Backer to adjust this claim. Backer was improperly trained and

performed an outcome oriented and unreasonable investigation of Plaintiff s damages. Backer did

not properly assess all damages caused by the Storm and omitted covered damages from the report

including the full extent of damage to the roof. Backer refused to fully compensate Plaintiff for

the full amount Plaintiff is entitled under the Policy. The outcome oriented investigation of

Plaintiffs claim resulted in a biased evaluation of Plaintiff s damages to the Property and the

estimated damages were severely underestimated.




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 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 48 of 62 PageID 61




        A.      Noncompliance with Texas Insurance Code: Unfair Settlement Practices

34.     Defendant Backer's conduct constitutes multiple violations of the Texas Insurance Code,

Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under this article are

made actionable by TEX. INS. CODE § 541.151.

3 5.    Defendant Backer is individually liable for his unfair and deceptive acts, irrespective of the

fact Backer was acting on behalf of Allstate Vehicle, because Backer is a "person" as defined by

TEX. INS. CODE     § 541.002(2). The term "person" is defined as "any individual, corporation,

association, partnership, reciprocal or interinsurance exchange, Lloyds plan, fraternal benefit

society, or other legal entity engaged in the business of insurance, including an agent, broker,

adjuster or life and health insurance counselor." TEX. INS. CODE § 541.002(2) (emphasis added).

(See also Liberty Mutual Insurance Co. v. Garrison Contractors, Inc., 966 S.W. 2d 482,484 (Tex.

1998) (holding an insurance company employee to be a "person" for the purpose of bringing a

cause of action against him or her under the Texas Insurance Code and subjecting him or her to

individual liability)).

36.     Defendants' misrepresentations by means of deceptive conduct include, but are not limited

to: (1) failing to conduct a reasonable inspection and investigation of Plaintiffs damages; (2)

stating that Plaintiffs damages were less severe than they in fact were; (3) using their own

statements about the non-severity of the damages as a basis for denying properly covered damages

and/or underpaying damages; and (4) failing to provide an adequate explanation for the inadequate

compensation Plaintiff received. Defendant Backer's unfair settlement practices, as described

above, of misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the business of


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 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 49 of 62 PageID 62




insurance. TEX. INS. CODE § 541.060 (a)(1).

37.    Defendant Backer's unfair settlement practices, as described above, of failing to attempt

in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance.              TEX. INS. CODE §


541.060(a)(2)(A).

38.    Defendant Backer failed to explain to Plaintiff the reasons for the offer or offers of an

inadequate settlement.      Specifically, Defendant Backer failed to offer Plaintiff adequate

compensation without any explanation as to why full payment was not being made. Furthermore,

Defendant Backer did not communicate that any future settlements or payments would be

forthcoming to pay for the entire losses covered under the Policy, nor was there any explanation

for the failure as described above, of failing to promptly provide Plaintiff with a reasonable

explanation of the basis in the Policy, in relation to the facts or applicable law, for the offer of a

compromise settlement of Plaintiff s claim, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE § 541.060(a)(3).

39.    Defendant Backer's unfair settlement practices, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

40.    Defendant Backer did not properly inspect the Property and failed to account for and/or

undervalued Plaintiffs roof damage, although reported by Plaintiff to Allstate Vehicle. Defendant

Backer's unfair settlement practices, as described above, of refusing to pay Plaintiffs claim
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                           Page 50 of 62 PageID 63




without conducting a reasonable investigation, constitutes an unfair method of competition, and

an unfair and deceptive act or practice in the business of insurance.                  TEX.   INS. CODE §

541.060(a)(7).

       II.        Causes of Action Against Allstate Vehicle

 41.         Allstate Vehicle intentionally breached its contract with Plaintiff, intentionally violated the

Texas Insurance Code and intentionally breached the common law duty of good faith and fair

dealing.

             A.      Breach of Contract

42.          Allstate Vehicle breached the contract of insurance it had with Plaintiff. Allstate Vehicle

breached the contract by its failure/and or refusal to adequately pay the claim as it is obligated to

do under the terms of the Policy in question and under the laws in the State of Texas.

             B.      Noncompliance with Texas Insurance Code: Unfair Settlement Practices

43.          Defendant Allstate Vehicle's conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. TEX. INS. CODE § 541.060(a). All violations under

this article were made actionable by TEX. INS. CODE § 541.151.

44.          Defendant Allstate Vehicle's unfair settlement practice, as described above, of

misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX. INS. CODE        § 5410.060(a)(1).

45.          Defendant Allstate Vehicle's unfair settlement practice, as described above, of failing to

attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

Allstate Vehicle's liability under the Policy was reasonably clear, constitutes an unfair method of


                                                       10
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                    Page 51 of 62 PageID 64




competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE   § 541.060(a)(2)(A).

46.     Defendant Allstate Vehicle's unfair settlement practice, as described above, of failing to

promptly provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to

the facts or applicable law, for its offer of a compromise settlement of the claim, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE § 541.060(a)(3).

47.     Defendant Allstate Vehicle's unfair settlement practices, as described above, of failing

within a reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a

reservation of rights to Plaintiff, constitutes an unfair method of compensation and an unfair and

deceptive act or practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

48.    Defendant Allstate Vehicle's unfair settlement practice, as described above, of refusing to

pay Plaintiffs claim without conducting a reasonable investigation, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

CODE   § 541.060(a)(7).

        C.     Noncompliance with Texas Insurance Code:              Prompt Payment of Claims
               Statute

49.    Plaintiff is entitled to 18% interest and attorney fees under TEX. INS. CODE §542.060 for

violating the Texas Insurance Code, Prompt Payment of claims TEX. INS. CODE §542.051 et. seq.

50.    Allstate Vehicle failed to acknowledge receipt of Plaintiff s claim, commence investigation

of the claim, and request from Plaintiff all items, statements, and forms that it reasonably believed

would be required within the applicable time constraints under TEX. INS. CODE §542.055.

51.    Allstate Vehicle failed to notify Plaintiff in writing of its acceptance or rejection of the

                                                 11
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                      Page 52 of 62 PageID 65




claim within applicable time constraints under TEX. INS. CODE §542.056.

52.     Allstate Vehicle delayed the payment of Plaintiffs claim following its receipt of all items,

statements, and forms reasonably requested and required, longer than the amount of time provided

for under TEX. INS. CODE §542.058.

        D.     Breach of the Duty of Good Faith and Fair Dealing

53.    Allstate Vehicle breached the duty of good faith and fair dealing by failing to adequately

and reasonably investigate and evaluate Plaintiffs claim while it knew or should have known, by

the exercise of reasonable diligence, that its liability was reasonably clear.

        E.     Knowledge

54.    Each of the acts described above, together and singularly, was done "knowingly" as that

term is used in the Texas Insurance Code.

                                            DAMAGES

55.    Plaintiff would show that all of the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiff.

56.     The damages caused by the hail storm and/or windstorm have not been properly addressed

or repaired in the months since the storm, causing further damages to the Property, and causing

undue hardship and burden to Plaintiff. These damages are a direct result of Defendants'

mishandling of Plaintiff s claim in violation of the laws set forth above.

57.    For breach of contract, Plaintiff are entitled to regain the benefit of his bargain, which is

the amount of his claim, together with attorney's fees.

58.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid


                                                  12
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                     Page 53 of 62 PageID 66




pursuant to the policy, court costs, and attorney's fees. For knowing conduct of the acts described

above, Plaintiff ask for three times their actual damages. TEX. INS. CODE § 541.152.

59.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of the claim, as well as 18% (eighteen percent) interest per amium on the

amount of such claim as damages, together with attorney's fees. TEX. INS. CODE § 542.060.

60.     For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages and damages for emotional stress.

61.     For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is entitled

to recover a sum for the reasonable and necessary services of Plaintiff s attorney in the preparation

and trial of this action, including any appeals to the Court of Appeals and/or the Supreme Court of

Texas

                                        JURY DEMAND

62.     Plaintiff hereby demands a trial by jury and tender the appropriate fee.

                                        DISCOVERY REQUESTS

63.     Pursuant to Texas Rules of Civil Procedure 194, Plaintiff requests that each Defendant

disclose, within 30 days of service of this request, the information or materials described in Texas

Rule of Civil Procedure 194.2(a)-(l).

64.     Defendants are requested to respond to the attached interrogatories and requests for

production within fifty (50) days.


                                                 13
 Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                      Page 54 of 62 PageID 67




                                            PRAYER

65.     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this court site Defendants

to appear and answer herein and that Plaintiff has judgment taken against Defendants and recovers

from Defendants all damages allowed by law, and that Plaintiff be awarded attorneys' fees for trial

and any appeal of this case, for pre-judgment and post judgment interest as allowed by law, costs

of court, and such other and further relief, both general and special, at law or in equity, to which

Plaintiff is justly entitled.



                                              Respectfully submitted,

                                              T H E POTTS L A W F I R M , L L P



                                      By:    /s/ Matthew J. Worrall
                                             Matthew J . Worrall
                                             SBN: 24070883
                                             William H. Barfield
                                             SBN: 24031725
                                             Andrew A. Woellner
                                             SBN: 24060850
                                             100 Waugh Drive, Suite 350
                                             Houston, Texas 77007
                                             Telephone (713) 963-8881
                                             Facsimile (713) 574-2938
                                             Emails: mworrall@potts-law.com
                                                     wbarfield@potts-law.com
                                                     awoeUner@potts-law.corn

                                             ATTORNEYS FOR PLAINTIFF




                                                14
F O R M NO. 353-3 - C I T A T I O N                                                                            CERT M A I L
THE STATE OF TEXAS
                                                                                                           CITATION
To:
       ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
       BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
       1999 BRYAN STREET SUITE 900                                                                         DC-15-12384
       DALLAS TX 75201-3136

 GREETINGS:                                                                                                 JUAN PORRAS
You have been sued. You may employ an attorney. If you or your attorney do not file a written                    vs.
 answer with the clerk who issued this citation by 10 o'ciock a.m. of the Monday next following the
                                                                                                       ALLSTATE TEXAS LLOYDS
 expiration of twenty days after you were served this citation and FIRST AMENDED petition, a default
judgment may be taken against you. Your answer should be addressed to the clerk of thel62ad                    ETAL
 District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being JUAN PORRAS                                                                              ISSUED THIS
                                                                                                         7th day of March, 2016
Filed in said Court 1st day of March, 2016 against
                                                                                                           FELICIA PITRE
ALLSTATE VEHICLE                                                                                         Clerk District Courts,
                                                                                                         Dallas County, Texas
For Suit, said suit being numbered DC-15-12384, the nature of which demand is as follows:
Suit on INSURANCE etc. as shown on said petition REQ FOR PRODUCTION AND
INTERROGATORIES, a copy of which accompanies this citation. If this citation is not served,
                                                                                                                                         Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                                                                                                       By: D1ANNE COFFEY, Deputy
it shall be returned unexecuted.

WITNESS: FELICIA PURE, Clerk of the District Courts of Dallas, County Texas.                             Attorney for Plaintiff
Given, under my hand and the Seal of said Court at office this 7th day of March, 2016.                   MATTHEW WORRALL
                                                                                                       THE POTTS LAW FIRM LLP
                                                                                                         100 WAUGH SUITE 350
                                                                                                          HOUSTON TX 77007
                                                                                                              713-963-8881
                                                                                                                                         Page 55 of 62 PageID 68




                                                                                                                            fKmmr
                                                                                                                                  PAID
                                                                      OFFICER'S RETURN
Case No.: DC-15-12384
Court No. 162nd District Court
Style: JUAN PORRAS
vs.
ALLSTATE TEXAS LLOYDS E T A L


Came to hand on the _                    davof         2MU£^.X> /&                   .at/^.'^clock               f ^ . M. Executed at
within, the County of _                                at               o'clock          .M. on the                      day of
20                   , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me its serving such process was             mites and tny fees are as follows: To certify which witness my hand.


                              For serving Ci tation
                              For mileage                                                 of                      _County,
                                                                                                                                                                                        Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                              For Notary                                                                                                   _Deputy
                                                              (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said_                               before me this          day of                            .20

to certify which witness my hand and seal of office.




                                                                                         Notary Public^                        _County_
                                                                                                                                                                                        Page 56 of 62 PageID 69
FORM NO. 353-3 - CITATION                                                                                           C E R T MAIL

T H E STATE OF TEXAS
                                                                                                               CITATION
To:
        ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
        BY SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900                                                                             DC-15-12384
        DALLAS TX 75201-3136

 GREETINGS:                                                                                                      JUAN PORRAS
 You have been sued. You may employ an attorney. If you or your attorney do not file a written                        vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
                                                                                                            ALLSTATE TEXAS LLOYDS
 expiration of twenty days after you were served this citation and FIRST AMENDED petition, a default
                                                                                                                    ET AL
judgment may be taken against you. Your answer should be addressed to the clerk of thel62nd
 District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being JUAN PORRAS                                                                                   ISSUED THIS
                                                                                                              7th day of March, 2016
Tiled in said Court 1st day of March, 2016 against
                                                                                                                FELICIA PITRE
ALLSTATE VEHICLE '                                                                                            Clerk District Courts,
                                                                                                              Dallas County, Texas
For Suit, said suit being numbered DC-15-12384, the nature of which demand is as follows:
Suit on INSURANCE etc. as shown on said petition REQ FOR PRODUCTION AND
INTERROGATORIES , a copy of which accompanies this citation. If this citation is not served,
                                                                                                                                              Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                                                                                                            By: DIANNE COFFEY, Deputy
it shall be returned unexecuted.

                                                                                                              Attorney for Plaintiff
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
Given under my hand and the Seal of said Court at office this 7th day of March, 2016.                         M A T T H E W WORRALL
                                                                                        1                   THE POTTS L A W FIRM LLP
                                                                            .YAW!!!!.'. .'.",,,
ATTEST: FELICIA PITRE, Clerk of the District Coj
                                              Duds of Dallas, Coun$;;Te$fc l)fi             '/'!''•''••'.     1 0 0 W A U G H SUITE 350
                                                                                                                WOUS-TON-TX-77007
                        By_                                                                                          713-963-8881
                              DIANNE COFFEY
                                                                                                                                              Page 57 of 62 PageID 70




                                                                                                                                       PAID
                                                                            OFFICER'S RETURN
Case No. : DC-15-123 84

Court No. 162nd District Court

Style: JUAN J'ORRAS

vs.

A L L S T A T E TEXAS LLOYDS            ETAL



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within the County of                                                        . o'clock            .M. on the        / 0        day of        ^ . g - c . ^ - ^

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20 fW                  , by delivering to the within named                                                                                                                       -            — — '
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each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date ol'delivcry. The distance actually traveled by

me in serving such process was                  miles and my fees are as follows: To certify which witness my hand.



                                 For serving Citation

                                  For mileage                                                    of.
                                                                                                                                                                                                               Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16




                                  For Notary

                                                                                      fserved outside the Slate oft'exiis.)
                                                                   (Must be verified it's                                        ^ ^                            Mifi    wTO?    .Ow

Signed and sworn to by the said_                                   _bcfbre me this          day of                            .20

to certify which witness my hand and seal of office.




                                                                                                 Notary !'ublic_                    _County_
                                                                                                                                                                                                               Page 58 of 62 PageID 71
    Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                                         Page 59 of 62 PageID 72



f e l k i a prraE
DISTRICT CLERK
GEORGE I ALLEN. SR. COURTS SLOG.
600 COMMERCE ST STE 103
DALLAS, TX 75302-1689




Return Receipt (Electronic)
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DC15-12384/DC
C T CORPORATION S Y S T E M , R E G I S T E R E D AGENT
ALLSTATE V E H I C L E AND P R O P E R T Y INSURANCE COMPANY
1999 BRYAN S T S T E 900
DALLAS, T X 75201-3140




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Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                         Page 60 of 62 PageID 73


       UNITED STATES
      POSTAL SERVICE.




Date: March .11,2016

MAIL MAIL:

The following is in response to your March 10, 2016 request for delivery information on
your Certified Mail™/RRE item number 92148901066154000081145795. The delivery
record shows that this item was delivered on March 10, 2016 at 9:21 am in DALLAS, TX
75201. The scanned image of the recipient information is provided below.
                                           ~ » or M M M t u H t   ctrt-mrrrt
Signature of Recipient:




Address of R<ecipient:      —




Thank you fof selecting the Postal Service for your mailing needs.

If you require additional assistance, please contact your local Post Office or postal
representative.

Sincerely,
United States" Postal Service




The customer reference information shown below is not validated or endorsed by the
United States "ostal Service, It is solely for customer use.


                                DC15-12384/DC
                                C T CORPORATION SYSTEM, REGISTERED AGENT
                                ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
                                1999 BRYAN ST STE 900
                                DALLAS, TX 75201-3140
                                                                                                                         FILED
  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                               Page 61 of 62 PageID 3/30/2016
                                                                                                       74DALLAS    COUNTY
                                                                                                                12:30:27 PM
                                                                                                                  FELICIA PITRE
                                                                                                                DISTRICT CLERK




                                             CAUSENO.DC-15-12384

JUAN PORRAS,                                                      §     IN THE DISTRICT COURT OF

         Plaintiff,

v.                                                                §     DALLAS COUNTY, TEXAS

ALLSTATE TEXAS LLOYD'S and DAVID
FRANK BACKER,

         Defendants.                                              §      162ND JUDICIAL DISTRICT


                       DEFENDANT A L L S T A T E V E H I C L E AND PROPERTY
                         INSURANCE COMPANY'S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

         Defendant Allstate Vehicle and Property Insurance Company files this Original Answer and

would respectfully show the Court the following:

                                                             I.

                                               ORIGINAL ANSWER

         Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies each

and every, all and singular, allegations contained within Plaintiffs First Amended Petition, and

demands strict proof thereon by a preponderance of the credible evidence in accordance with the

Constitution and laws of the State of Texas.

                                                         II.
                                                       PRAYER

         Defendant Allstate Vehicle and Property Insurance Company prays that upon final trial

and hearing hereof, Plaintiff recover nothing from Defendant, but Defendant goes hence without

delay and recovers costs of court and other such further relief, both general and special, to which

Defendant may be justly entitled.




Defendant Allstate Vehicle and Property Insurance Company's Original Answer                            Page 1
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03645.881
  Case 3:16-cv-00968-B Document 1-2 Filed 04/07/16                              Page 62 of 62 PageID 75



                                                          Respectfully submitted,



                                                          Isi Roger D. Higgins
                                                          Roger D. Higgins
                                                          State Bar No. 09601500
                                                          John B. Reyna
                                                          State Bar No. 24098318
                                                          THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                                                                th
                                                          700 N . Pearl Street, 25 Floor
                                                          Dallas, Texas 75201
                                                          Telephone: (214) 871-8200
                                                          Telecopy: (214) 871-8209
                                                          Email: rhiggins@thompsoncoe.com
                                                          Email: irevna@thompsoncoe.com

                                                          ATTORNEYS FOR DEFENDANT
                                                          ALLSTATE V E H I C L E AND PROPERTY
                                                          INSURANCE COMPANY


                                          CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served by
electronic file notification and/or facsimile to the following counsel on March 30, 2016:

         Matthew J. Worrall
         William H. Barfield
         Andrew A. Woellner
         The Potts Law Firm, LLP
         100 Waugh Drive, Suite 350
         Houston, Texas 77007
         mworrall@potts-law.com
         wbarfield@potts-law.com
         awoellner@potts-law.com



                                                          Isi John B. Reyna
                                                          John B. Reyna




Defendant Allstate Vehicle and Property Insurance Company's Original Answer                      Page 2
2395343V1
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